Case 1:14-mc-00424-P1 Document 59-2 Filed 12/11/15 Page 1 of 3

 

 
Case 1:14-mc-00424-P1 Document 59-2 Filed 12/11/15 Page 2 of 3

Tom Sullivan a
ana

From: Sean.Barry@hklaw.com

Sent: Wednesday, December 9, 2015 6:19 PM

To: . nicole.a.annunziata@us.hsbc.com

Ce: Jack.Stoerger@hklaw.com; James.Power@hklaw.com; SCooper@ReedSmith.com;
SKadosh@ReedSmith.com; tsullivan@mslegal.com; marks@mslegal.com

Subject: RE: Hornbeam Subpoena_HSBC File No: 3367013

 . Ms. Annunziata,

Please find a list below of the addresses associated with the entities that you requested. Many of these companies are
part of a related group of entities headquartered in Miami, Florida, including Miami, Miami Beach, and Coral Gables. As
we previously discussed, we may be Supplementing our response to HSBC’s request for further information in the near
future.

Warren Steel Holding LLC
200 S Biscayne Blvd, Miami, FL 33133; 4000 Mahoning Ave, Warren, OH 44483.

Felman Trading Inc
200 South Biscayne Blvd, Miami, FL 33131; Kelby Street, Fort Lee, NJ.

Mordechai Korf AKA Motti Korf :

He resides in Miami, FL. He is associated with the following addresses: 200 South Biscayne Blvd, Miami, FL
33131; 1410 Lenox Ave, Miami Beach, FL 33139; 1521 Alton Rd, Miami Beach, FL 33139; 2277 Sunset Drive, Miami
Beach, FL 33140.

Optima Acquisitions LLC
200 South Biscayne Blvd, Miami, FL 33131; 2800 Ponce de Leon Blvd, Coral Gables, FL 33134. It is also believed
to have an address in Delaware.

Optima Group LLC
. 200 South Biscayne Blvd, Miami, FL 33131; 1410 Lenox Ave, Miami Beach, FL 33139; 1521 Alton Rd, Miami
Beach, FL 33139.

Optima International of Miami
1410 Lenox Ave, Miami Bch, FL 33139; 1521 Alton Rd, Miami Beach, FL 33139.

Optima Ventures LLC
200 South Biscayne Blvd, Miami, FL 33131; 1410 Lenox Ave, Miami Bch, FL 33139; 1521 Alton Rd, Miami Beach,
FL 33139.

Felman Production
200 South Biscayne Blvd, Miami, FL 33131; 4442 Graham Station Rd, Letart, WV; US Route 33, Graham Station,
WV, 25265.

Marigold Trust Company Limited
Standard Bank House 47-49 La Motte Street St Helier Jersey JE2 4SZ, Jersey, Channel Islands; Isle of Man.

Igor Kolomoisky AKA Igor Kolomoiskiy

 
Case 1:14-mc-00424-P1 Document 59-2 Filed 12/11/15 Page 3 of 3

 
 
  

: Herzliya, Israel. He is also believed to have an address in Geneva, Switzerland and Ukraine.

Gennadiy Bogolyubov
‘London. He is also believed to have an address in Israel.

Haftseek Investments Ltd.
Located in Cyprus (address in Greek: Avayvwotapd - PhooeA, ANTZELA COURT, Flat 6 3076, Aepeodc, Kimpos).

GM Georgian Manganese Holdings Ltd.
5 Marjanishvili Street, Tbilisi, Georgia (Black Sea Region) 0102; Sakarkhno Str.,N 9, Zestafoni, Georgia. It is
believed to have a possible address in Cyprus .

Hopefully you find this information to be helpful. Please let me know if you have any additional questions or comments.
Best regard,
Sean

Sean Barry | Holland & Knight

Associate

31 West 52nd Street | New York NY 10019
Phone 212.513.3395 | Fax 212.385.9010
sean.barry@hklaw.com | www.hklaw.com

From: nicole.a.annunziata@us.hsbc.com [mailto:nicole.a.annunziata@us.hsbc.com]

Sent: Tuesday, December 08, 2015 10:11 AM . '

To: Bruce Marks <marks@mslegal.com> "

Cc: Stoerger, Jack D (NYC - X73557) <Jack.Stoerger@hklaw.com>; Power, James H (NYC - X73494)
<James.Power@hklaw.com>; SCooper@ReedSmith.com; Barry, Sean P (NYC - X73395) <Sean.Barry@hklaw.com>;
SKadosh@ReedSmith.com; tsullivan@mslegal.com

Subject: RE: Hornbeam Subpoena_HSBC File No: 3367013

Hello Mr. Marks,

HSBC is requesting this information to review the discovery already produced in this matter. | will reach out to our
attorney and inquire if he wishes to be included in these correspondence. For now please direct the requested
information to my attention.

Should you have further questions or concerns please let me know.

Thank you,

Nicole A. Annunziata

Legal Paper Regulatory Specialist

Legal Paper Processing | HSBC Operations, Services and Technology USA
2929 Walden Avenue- Pole C84

Depew, NY 14043

 

 

Phone: 716-841-4469

 

 
